Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1368 Filed 12/13/22 Page 1 of 16




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

     TYRONE WILLIAM MAHAN,                CASE NO. 2:22-cv-10489

          Plaintiff,                      HON. GEORGE CARAM STEEH
     v.                                   DISTRICT JUDGE

     K. AUSTIN, NP;                       HON. PATRICIA T. MORRIS
     N. STOKLEY-HAMDAN, NP;               MAGISTRATE JUDGE
     JOSHUA BUSKIRK, PA-C;
     CARMEN MCINTYRE, CMO; and
     CARMEN BUSSELL, BHCS,

       Defendants.
 _______________________________/


           REPORT AND RECOMMENDATION TO GRANT DEFENDANTS’
                  MOTION FOR DISMISSAL (ECF No. 73)

     I.   RECOMMENDATION

          For the following reasons, I RECOMMEND that this Court GRANT

 Defendants Dr. Carmen McIntyre-Leon, Karmen Bussell, 1 and Joshua Buskirk’s

 Motion to Dismiss under Fed. R. Civ. P. 12(b)(6), dismissing these Defendants

 WITH PREJUDICE. (ECF No. 73).




 1
  As to Defendants Carmen McIntyre-Leon and Karmen Bussell, the Court
 recognizes that in the Complaint’s caption, McIntyre-Leon is identified as
 “McIntyre” and Karmen Bussell, “Carmen Bussell.”
                                      1
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1369 Filed 12/13/22 Page 2 of 16




       II.   REPORT

       A.     Procedural and Factual Background

       At the time of the events in question, Plaintiff was a prison inmate in the

 custody of the Michigan Department of Corrections (“MDOC”) at the G. Robert

 Cotton Correctional Facility (“JCF”) in Jackson, Michigan. He alleges Eighth

 Amendment violations and retaliation in violation of the First Amendment by

 various prison officials stemming from his quarantine placement in January 2021

 following “close contact” with another prisoner testing positive for COVID-19.

 (ECF No. 1, PageID.8).

       On March 28, 2022, the District Court summarily dismissed the following

 Defendants under 28 U.S.C. §§ 1997e(c), 1915(e)(2), and 1915A(b): Thomas Cobb;

 Timothy Schubring; Sirena Landfair, Health Unit Manager (“HUM”); Austin,

 Hearing Investigator; C. Young, Assistant Resident Unit Supervisor (“ARUS”); C.

 McCumber-Henry; Jimmy Jarrett, Deputy Warden, Tiffani Kisor, Assistant Deputy

 Warden (“ADW”); Stevenson, Correctional Officer (“CO”); and Brian Nichelson,

 CO. (ECF No. 7, PageID.42).

       The Court declined to dismiss the following Defendants: N. Nagy, Warden

 of JCF; S. Bailey, Deputy Warden; J. White, ADW; R. Rurka, ADW; K. Austin, NP;

 N. Stokley-Hamdan, NP; Lt. Root, CO; Sgt. Haskett, CO; Sgt. Ferguson, CO;

 Officer Holzchu, CO; Joshua Buskirk, PA-C; Heidi Washington, Director of the


                                        2
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1370 Filed 12/13/22 Page 3 of 16




 MDOC; Carmen McIntyre-Leon, Chief Medical Officer (“CMO”); and Karmen

 Bussell. (Id., PageID.42-43).

       On April 15, 2022, Magistrate Judge Kimberly G. Altman ordered the case

 excluded from the pro se prisoner mediation program because Defendants K. Austin

 and N. Stokley-Hamdan, through their employer Corizon Health, declined to engage

 in mediation. (ECF No. 10, PageID.50). On July 13, 2022, the District Court

 adopted my recommendation to deny Plaintiff’s motion for a temporary restraining

 order (“TRO”). (ECF Nos. 19, 22, 44). On November 4, 2022, the District Court

 adopted my recommendation to grant the motion to dismiss by Defendants

 Washington, Nagy, Bailey, White, Rurka, Root, Heskett, Ferguson, and Hoszschu.

 (ECF Nos. 39, 69, 94).

       The Complaint contains the following factual allegations.

       On January 1, 2021, after coming into “close contact” with a prisoner testing

 positive for COVID-19, Plaintiff was taken from his level 1 security unit and placed

 in quarantine among prisoners from levels 2 to 4 security units. (ECF No. 1,

 PageID.8). Although Plaintiff tested negative for the virus the next day, he was

 forced to stay in the quarantine unit. (Id.) Plaintiff asked now-dismissed Defendant

 Nagy for a transfer out of the unit, to which Nagy responded that “his hands [were]

 tied” by a state policy implemented by current Defendants McIntyre and Buskirk.

 (Id.) Now-dismissed Defendant White also failed to intervene on Plaintiff’s behalf,


                                          3
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1371 Filed 12/13/22 Page 4 of 16




 stating that the requested transfer would need to be cleared by current Defendant

 Bussell.   (Id.)   Now-dismissed Defendant Washington and current Defendant

 McIntyre “knew or should have known” that Plaintiff faced a substantial risk of

 serious harm but disregarded the risk. (Id.)

       Plaintiff alleges that as a result of being required to share the same living

 quarters with COVID-19 positive inmates, he suffered “emotional, mental and

 physical harm,” including becoming “obese from a[n] eating disorder, hair loss from

 stress, [and] thoughts of suicide.” (Id., PageID.11). He alleges that he later “caught

 the virus and refused treatment,” 2 adding that he experienced “breathing issue[s] and

 body pains from complications of the virus. (Id., PageID.12). He claims that he has

 been “mistreated, harassed, [and] threaten[ed] [with] continued incarceration. . .”

 (Id.) He requests monetary damages and costs.

       B.     Standard of Review

       Under Rule 12(b)(6), a complaint must provide “a short and plain statement

 of the claim showing that the pleader is entitled to relief.” See Fed. R. Civ. P. 8(a)(2).

 Accordingly, a plaintiff's complaint shall be dismissed for failure to state a claim if

 it lacks sufficient “factual matter (taken as true) to” provide “plausible grounds to


 2
  The Complaint is unclear as to whether after catching the virus, Plaintiff “refused
 treatment,” or was “refused treatment” by medical staff. (ECF No. 1, PageID.11).
 However, Plaintiff later denied that he refused any offered medical treatment.
 (ECF No. 79, PageID.1271).
                                             4
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1372 Filed 12/13/22 Page 5 of 16




 infer” that the elements of a claim for relief could be met. Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 556 (2007); see Fed. R. Civ. P. 12(b)(6). A complaint must

 “raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555. Mere

 labels, conclusory statements, or “formulaic recitations” of the elements of a cause

 of action are not sufficient to meet this burden if they are unsupported by adequate

 factual allegations. Id. (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). The

 requirement to provide a plausible claim does not require that a claim be “probable”;

 however, a claim must be more than merely “conceivable.” Ashcroft v. Iqbal, 556

 U.S. 662, 678–80 (2009).

       Because Plaintiff filed his complaint pro se, his pleadings are liberally

 construed. Spotts v. United States, 429 F.3d 248, 250 (6th Cir. 2005) (citing Haines

 v. Kerner, 404 U.S. 519, 520 (1972)). However, even pro se complaints must satisfy

 basic pleading requirements. Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989).

       C.   Analysis 3



 3
  Since the present motion was filed, Plaintiff (by way of a reply brief to another
 motion) sought to add claims under the Religious Land Use and Institutionalized
 Persons Act of 2000, 42 U.S.C. § 2000cc, et seq. (“RLUIPA”), and the Americans
 with Disabilities Act, 42 U.S.C. § 12101 (“ADA”). (ECF No. 78). He also sought
 to add more Defendants and filed a motion for leave amend the Complaint. (ECF
 Nos. 61, 66, 80). Because Plaintiff did not include a proposed amended complaint
 with the motion, the undersigned directed him to file a proposed amended complaint
 by November 18, 2022 and denied the motions to “add defendants” as moot. (ECF
 Nos. 61, 66, 82, 96). Because Plaintiff failed to file a timely proposed amended
                                          5
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1373 Filed 12/13/22 Page 6 of 16




              1. The Official Capacity Claims

       Present Defendants, Buskirk, PA; Bussell, RN; and McIntyre, Chief Medical

 Officer of the MDOC, are sued in both their official and personal capacities. 4 They

 argue first that under they are entitled to absolute immunity from the claims for

 monetary damages brought against them in their official capacity. (ECF No. 73,

 PageID.1178-80). 5

        The Eleventh Amendment to the United States Constitution provides that no

 citizen of the United States shall commence a suit against any state. U.S. Const.

 amend. XI.; Edelman v. Jordan, 415 U.S. 651, 662-63 (1974). A suit against a state

 officer in his or her official capacity is a suit against the entity he or she

 represents. Will v. Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989).



 complaint, the motion for leave to amend was denied. (ECF No. 97). My analysis is
 therefore restricted to the allegations against the present three Defendants contained
 in the original complaint.
 4
  Plaintiff states that the MDOC Defendants, including present Defendants, acting in
 their “OFFICIAL Capacity intentionally exposed [him] to positive COVID-19
 inmates with the intent to deprive me of my Constitutional Rights.” (ECF No. 1,
 PageID.7) (capitalization in original).
 5
  Plaintiff did not respond to the present motion. But since it was filed on September
 29, 2022, Plaintiff filed a total of nine notices, motions, or other requests, including
 a motion for a TRO. (ECF Nos. 78-81, 83-86, 95). On October 19, 2022, he asked
 for an extension of time to respond the present motion, adding that he was “not
 responsible for any late filings since defendant(s) . . . took [his] law library access”
 and refused him “caselaw or [a] legal writer.” (ECF No. 83, PageID.1287). He was
 granted an extension until November 23, 2022 to file a response.
                                            6
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1374 Filed 12/13/22 Page 7 of 16




 Defendants, working in various positions for the MDOC, are all state employees.

 Therefore, by suing Defendants in their official capacities, Plaintiff is effectively

 suing the State of Michigan. See Maben v. Thelen, 887 F.3d 252, 257, 270–71 (6th

 Cir. 2018) (holding that the Eleventh Amendment barred a suit against a prison guard

 in his official capacity); Baskerville v. Blot, 224 F. Supp. 2d 723, 738 (S.D.N.Y.

 2002) (holding that the Eleventh Amendment barred a lawsuit against “corrections

 officers [and] nurses employed by the New York State Department of Corrections”

 in their official capacities). The official capacity claims against Defendants for

 monetary damages are therefore barred by Eleventh Amendment immunity.

       While the Eleventh Amendment does not prohibit suits against states for

 purely injunctive relief, see Ex parte Young, 209 U.S. 123, 148 (1908), the

 Complaint requests only monetary damages. (ECF No. 1, PageID.13). Moreover,

 the Complaint’s allegations are limited to injuries that occurred in the first three

 months of 2021. The Ex parte Young exception “does not . . . extend to any

 retroactive relief.” Kanuszewski v. Michigan Dep’t of Health & Hum. Servs., 927

 F.3d 396, 417, 2019 WL 2417390 (6th Cir. 2019). Because the Ex Parte Young

 exception allowing for suits against individuals in their official capacities for

 injunctive relief does not apply, the official capacity claims should be dismissed.

              2. Qualified Immunity



                                           7
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1375 Filed 12/13/22 Page 8 of 16




       Present Defendants also contend that the claims against them are barred by

 qualified immunity. (ECF No. 73, PageID.1180-84).

       As a threshold matter, Defendants’ arguments rely on exhibits attached to an

 earlier, now granted motion to dismiss by their former codefendants. (ECF Nos. 39,

 39-5, 39-7, 39-12). “As a general rule, a court cannot consider matters outside the

 four corners of the complaint when ruling on a motion to dismiss under Rule

 12(b)(6).” Blick v. Ann Arbor Pub. Sch. Dist., 516 F. Supp. 3d 711, 720, 393 Ed.

 Law Rep. 216, 2021 WL 351997 (E.D. Mich. 2021). However, “[t]he court may . .

 . consider documents that a defendant attaches to a motion to dismiss if the

 documents are referred to in the complaint and are central to the plaintiff’s claims.”

 Id. The Complaint criticizes the MDOC Director’s Office Memorandum (“DOM”)

 in effect at the time of the events in question and the CDC’s guidance for the relevant

 period. (ECF No. 1, PageID.7). And the Court may consider “public records” in

 reviewing a motion to dismiss. Bassett v. NCAA, 528 F.3d 426, 430 (6th Cir. 2008).

 Because the exhibits consisting of the applicable DOM and CDC protocols are both

 central to Plaintiff’s claims and public records, the Court may consider them.

       “The doctrine of qualified immunity protects government officials from

 liability for civil damages insofar as their conduct does not violate clearly established

 statutory or constitutional rights of which a reasonable person would have

 known.” Pearson v. Callahan, 555 U.S. 223, 231 (1999) (quotation marks omitted).


                                            8
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1376 Filed 12/13/22 Page 9 of 16




 In a § 1983 claim, “[t]he first step is to determine if the facts alleged make out a

 violation of a constitutional right.” Shumate v. City of Adrian, Michigan, 44 F.4th

 427, 439 (6th Cir. 2022) (citing Pearson at 232). “The second is to ask if the

 constitutional right was clearly established at the time of the alleged

 violation.” Shumate, at 439 (citing Wright v. City of Euclid, 962 F.3d 852, 864 (6th

 Cir. 2020)). “To be clearly established, a right must be sufficiently clear that

 every reasonable official would have understood that what he is doing violates that

 right.” Reichle v. Howards, 566 U.S. 658, 664 (2012) (punctuation and internal

 citations omitted).

       The order of the two-part inquiry is left to the “‘sound discretion’” of the

 court. Kanuszewski, 927 F.3d at 414 (quoting Pearson, 555 U.S. at 236). Where

 there is no constitutional violation, the court “need not decide whether” the

 constitutional violation alleged is “clearly established at the time of incident.” Jones

 v. City of Cincinnati, 736 F.3d 688, 696 (6th Cir. 2012). Likewise, upon finding that

 a right is not clearly established, the court is not required “to decide whether a

 constitutional violation occurred.” Id. (citing Pearson, 555 U.S. at 237); see also

 Jefferson v. Lewis, 594 F. 3d 454, 460 (6th Cir. 2010) (Where the court finds that a

 defendant’s actions reasonable, it need not decide whether a constitutional violation

 has occurred).




                                            9
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1377 Filed 12/13/22 Page 10 of 16




        The Court considers Plaintiff’s claim that Defendants’ response (or lack

 thereof) to the Covid-19 pandemic supports a cause of action. Under the Eighth

 Amendment, prisoners have a constitutional right to medical care. Estelle v. Gamble,

 429 U.S. 97, 103 (1976). Prison officials may not act with deliberate indifference to

 the medical needs of their prisoners. Id. at 104. An Eighth Amendment claim has

 two components, one objective and the other subjective. Farmer v. Brennan, 511

 U.S. 825, 834 (1994); Comstock v. McCrary, 273 F.3d 693, 702 (6th Cir. 2002).

 Under the objective component, the plaintiff must show “that he is incarcerated

 under conditions posing a substantial risk of serious harm.” Farmer, 511 U.S. at

 834. It is undisputed that the health risks associated with COVID-19, particularly

 within the first year of the pandemic, constituted a “substantial risk of harm.”

       Under the subjective component, “the plaintiff must allege facts which, if true,

 would show that the official being sued subjectively perceived facts from which to

 infer substantial risk to the prisoner, that he did in fact draw the inference, and that

 he then disregarded that risk.” Id. Deliberate indifference may be established by

 showing an interruption of a prescribed plan of treatment, or a delay in medical

 treatment. Id.; Caldwell v. Moore, 968 F.2d 595, 602 (6th Cir. 1992). As to the risks

 posed by COVID-19 “[t]here is no question that Defendants were able to infer a

 substantial risk to Plaintiff and other prisoners. ‘When a risk of harm is obvious, the

 Court ‘may infer the existence of [a] subjective state of mind.’” Williams v. Rurka,


                                           10
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1378 Filed 12/13/22 Page 11 of 16




 No. 20-12349, 2022 WL 4109464, at *4 (E.D. Mich., September 8, 2022) (Murphy,

 J.) (quoting Hope v. Pelzer, 536 U.S. 730, 738 (2002)).

         Still, Plaintiff cannot satisfy the subjective component of the Eighth

 Amendment claims. “‘[P]rison officials who actually knew of a substantial risk to

 inmate    health   or   safety   may   be    found   free   from   liability   if   they

 responded reasonably to the risk, even if the harm ultimately was not averted.’”

 Wilson v. Williams, 961 F.3d 829, 840 (6th Cir. 2020) (quoting Farmer, 511 U.S. at

 834).    In Wilson, federal prisoners housed in the Elkton Federal Correctional

 Institution in Ohio filed a petition under 28 U.S.C. § 2241 seeking release from the

 custody of the Bureau of Prisons (“BOP”) to avoid exposure to COVID-19. The

 Court vacated the district court’s preliminary injunction, finding that the petitioners

 could not satisfy the subjective component of their Eighth Amendment claim

 because the respondents had “responded reasonably” to the risks posed by COVID-

 19. Id. at 839-40. The Court observed that the BOP’s actions to combat COVID-

 19 included screening inmates for the virus; isolating and quarantining individuals

 who had contracted the virus; limiting inmates’ movements; limiting group

 gatherings; screening visitors; cleaning common areas; educating prisoners as to

 ways to avoid contracting the virus; and providing soap, sanitizer, and masks to the

 prisoners and staff. Id. at 839-840.




                                             11
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1379 Filed 12/13/22 Page 12 of 16




        Present Defendants note that like the BOP did in Wilson, the MDOC

 “promulgated several policies to deal with COVID-19 . . . .” (ECF No. 73,

 PageID.1193). They cite The MDOC Director’s Office Memorandum 2021-26

 (“DOM”) effective at the time of the events in question, requires the use of masks;

 the screening of staff and visitors; a distance of a least six feet between individuals;

 limited group meetings; the designation of isolated spaces; the isolation of COVID-

 positive prisoners; an adequate supply of soap to prisoners; a distance of six feet

 between prisoners standing in line and eating in the dining hall; the sanitation of

 dining hall tables between shifts; the denial of transfers unless approved by the CFA

 Deputy Director; and a 14-day period of quarantine for prisoners in close contact

 with COVID-positive individuals. (ECF No. 39-7, PageID.527-537).

       As in Wilson, the MDOC’s measures show that reasonable precautions were

 taken to contain the spread of COVID-19. In addition, Plaintiff’s allegations, taken

 as true, do not state that the individual Defendants’ actions were unreasonable under

 those circumstances. Plaintiff faults the decision to leave him in the quarantined

 area one day after he came in “close contact,” with an infected prisoner, despite that

 he tested negative for COVID-19. (ECF No. 1, PageID.8). He notes that a now-

 dismissed Defendant barred Plaintiff’s release from quarantine, stating that his

 “hands were tied” by the policies implemented by Defendants McIntyre and Buskirk.

 (Id.) However, the DOM requirement that a prisoner who has been in “close


                                           12
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1380 Filed 12/13/22 Page 13 of 16




 contact” with an infected individual must remain quarantined for 14 days, (allegedly

 implemented by Defendants McIntyre and Buskirk) is consistent with CDC

 guidelines at that time recommending a 14-day period of quarantine for individuals

 (“Close Contacts”) exposed to but not positive for COVID-19. (ECF No. 39-7,

 PageID.529); see CDC Interim Guidance, (March 27, 2020) (ECF No. 39-5,

 PageID.389), CDC Interim Guidance, December 31, 2020) (“[C]orrectional and

 detention facilities should continue to use a 14-day quarantine period . . . .”), (ECF

 No. 39-12, PageID.651). The policies allegedly implemented by Buskirk and

 McIntyre, in conformance with CDC guidelines for the same period, were not

 unreasonable.

       Plaintiff alleges that another, now-dismissed Defendant refused to transfer

 him out of quarantine before the 14-day period ended based on a policy implemented

 by Defendant Bussell. (ECF No. 1, PageID.8). But again, even assuming that the

 quarantine policies were imposed by Bussell, the restrictions set forth in the DOM

 were not unreasonable. Plaintiff also takes issue with being placed in an area of the

 prison regularly designated for inmates at a higher security level under the DOM

 policy stating that individuals under quarantine “shall be placed . . . in a designated

 isolation area as soon as resources permit regardless of their security level . . . .”)

 (ECF No. 39-7, PageID.528-529). However, Plaintiff’s failure to allege an actual

 injury (aside from stress-related symptoms) as a result of being placed in a higher


                                           13
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1381 Filed 12/13/22 Page 14 of 16




 security level defeats this claim. See Morris v. Metrish, 1998 WL 246454, at *2 (6th

 Cir. May 5, 1998)(quoting Estelle, 429 U.S. at 103, Hudson v. McMillian, 503 U.S.

 1, 8 (1992)) (“Morris’ Eighth Amendment claim is frivolous because he did not show

 that the defendant’s decision to classify him at a higher security level subjected him

 to ‘unnecessary and wanton infliction of pain,’ or that the defendant exposed Morris

 to conditions below ‘contemporary standards of decency.’”). See also Sanders v.

 Washington, No. 1:21-CV-510, 2022 WL 575179, at *12 (W.D. Mich. Feb. 25,

 2022) (Prisoner “fails to state an Eighth Amendment claim . . . for the [MDOC]

 policy that permitted mixing prisoners from different security levels on a COVID-

 19 outbreak unit.”). Plaintiff does not allege that he was assaulted or otherwise

 placed in danger during his 14-day stint in the higher security level unit. As in

 Wilson, the policy to quarantine Plaintiff for 14 days at a higher security level where

 necessary to avoid exposing other prisoners to the virus constitutes a reasonable

 response to the COVID-19 pandemic.

       In light of Plaintiff’s failure to plead an Eighth Amendment violation, the

 Court need not determine whether the constitutional violation alleged was “clearly

 established” at the time of the events in question. Jones, 736 F.3d at 696; Williams,

 at *5 (“Because Defendant acted reasonably, Defendant did not commit a

 constitutional violation. The Court will therefore grant immunity to the

 Defendant.”).


                                           14
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1382 Filed 12/13/22 Page 15 of 16




        E.    Conclusion

        For the reasons discussed above, I RECOMMEND that this Court GRANT

 Defendants Dr. Carmen McIntyre-Leon, Karmen Bussell, and Joshua Buskirk’s

 Motion to Dismiss under Fed. R. Civ. P. 12(b)(6), dismissing these Defendants

 WITH PREJUDICE. (ECF No. 73).

 III.   REVIEW

        Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, “[w]ithin

 14 days after being served with a copy of the recommended disposition, a party may

 serve and file specific written objections to the proposed findings and

 recommendations. A party may respond to another party’s objections within 14 days

 after being served with a copy.” Fed. R. Civ. P. 72(b)(2); see also 28 U.S.C. §

 636(b)(1). Failure to file specific objections constitutes a waiver of any further right

 of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health & Human

 Servs., 932 F.2d 505 (6th Cir. 1991); United States v. Walters, 638 F.2d 947 (6th Cir.

 1981). The parties are advised that making some objections, but failing to raise

 others, will not preserve all the objections a party may have to this R&R. Willis v.

 Sec’y of Health & Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Dakroub v.

 Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant

 to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served upon this

 magistrate judge.

                                           15
Case 2:22-cv-10489-GCS-PTM ECF No. 99, PageID.1383 Filed 12/13/22 Page 16 of 16




       Any objections must be labeled as “Objection No. 1,” “Objection No. 2,” etc.

 Any objection must recite precisely the provision of this R&R to which it pertains.

 Not later than 14 days after service of an objection, the opposing party may file a

 concise response proportionate to the objections in length and complexity. Fed. R.

 Civ. P. 72(b)(2); E.D. Mich. LR 72.1(d). The response must specifically address

 each issue raised in the objections, in the same order, and labeled as “Response to

 Objection No. 1,” “Response to Objection No. 2,” etc. If the Court determines that

 any objections are without merit, it may rule without awaiting the response.

 Date: December 13, 2022                      s/ PATRICIA T. MORRIS
                                              Patricia T. Morris
                                              United States Magistrate Judge




                                         16
